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                            59   MONTEREY FINANCIAL
                       10        SERVICES, INC.
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                       158                            UNITED STATES DISTRICT COURT
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                       179                         NORTHERN DISTRICT OF CALIFORNIA
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                       10                                  SAN FRANCISCO DIVISION
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                       12        GAIL A. GRANCSAY,                             Case No.: 4:22-cv-02014-YGR
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                       13                    Plaintiff,
                       26              v.                                      DEFENDANT’S NOTICE OF
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                       14                                                      PARTIAL MOTION AND MOTION
                       28        MONTEREY FINANCIAL SERVICES,                  TO DISMISS PURSUANT TO FED. R.
                       15        INC,                                          CIV. P. 12(b)(6)
                       16                    Defendants.
                       17                                                      Hearing Date:    July 19, 2022
                                                                               Time:       2:00 p.m.
                       18                                                      Courtroom: 1
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                                 TO All PARTIES AND THEIR COUNSEL OF RECORD:
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                                       PLEASE TAKE NOTICE that on July 19, 2022, at 2:00 p.m., or as soon
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                                 thereafter as counsel may be heard in Courtroom 1, 4th Floor, District Judge
                       23
                                 Yvonne Gonzalez Rogers, presiding at the Oakland Courthouse, 1301 Clay Street,
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                                 Oakland, California 94612, Defendant Monterey Financial Services, LLC’s
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                                 (“Monterey”) moves, pursuant to Fed. R. Civ. P. 12(b)(6), for an Order dismissing
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                                 Count II of Plaintiff Gail A. Grancsay’s (“Plaintiff”) Complaint.
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                                       Plaintiff alleges in Count II of her Complaint that Monterey violated
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                                             DEFENDANT’S NOTICE OF PARTIAL MOTION AND MOTION TO DISMISS
                                                          PURSUANT TO FED. R. CIV. P. 12(B)(6)
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                         1 Regulation F, 12 C.F.R. § 1600 et seq. (Doc. 1, p. 7). As detailed in the
                         2
                         23 accompanying Memorandum of Points and Authorities, Regulation F is a regulatory
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                          35 provision that articulated guidance from the Bureau of Consumer Financial
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                           47 Protection (“the Bureau”) about how it has interpreted the requirements and
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                            59 prohibitions in the Fair Debt Collection Practices Act. The regulation does not
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                       116 provide for a private cause of action. As a result, Count II of the Complaint, which
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                       137 seeks declaratory relief, statutory, and actual damages, as a result of a violation of
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                       158 Regulation F, must be dismissed.
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                       179           This Motion is based on this Notice of Motion, the Memorandum of Law
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                       19 submitted together with the Motion, the Court’s file, and such additional facts and
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                       21 argument as will be presented at the hearing.
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                       23 DATED: June 13, 2022
                       12                                               HAMRICK & EVANS, LLP
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                       14                                           By:______________________________
                       28                                               JEFF W. POOLE
                       15                                               Attorneys for Defendant
                                                                          MONTEREY FINANCIAL SERVICES,
                       16                                                 INC.
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                                        DEFENDANT’S NOTICE OF PARTIAL MOTION AND MOTION TO DISMISS
                                                     PURSUANT TO FED. R. CIV. P. 12(B)(6)
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                         1                     MEMORANDUM OF POINTS AND AUTHORITIES
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                         23              Defendant Monterey Financial Services, LLC1 (“Monterey”) presents this
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                          35     Memorandum of Points and Authorities in support of its motion (the “Motion”) to
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                           47    dismiss Count II of Plaintiff Gail A. Grancsay’s (“Plaintiff”) Complaint, pursuant to
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                            59   Fed. R. Civ. P. 12(b)(6). The issue to be decided is whether Count II of the
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                       116       Complaint plausibly states a cause of action.
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                       137                                 PRELIMINARY STATEMENT
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                       158               Plaintiff has commenced an action against Monterey alleging violations of:
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                       179       (1) the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”); (2)
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                       10        Regulation F, 12 C.F.R. § 1600 et seq. (“Regulation F”); and (3) the California
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                       11        Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788, et seq.
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                       23
                       12        (“Rosenthal Act”).
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                       13                Regulation F is an amendment to 12 C.F.R. § 1600, which implements the
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                       14        FDCPA. Therein, the rule provides guidance to what is, or is not, a violation of the
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                       15        FDCPA. It does not, however, confer a separately actionable private cause of action
                       16        to a consumer who contends that a defendant has violated Regulation F. As a result,
                       17        Count II of the Complaint, which requests declaratory relief and damages, stemming
                       18        from a purported violation of Regulation F, is not actionable and must be dismissed.
                       19                                           ARGUMENT
                       20        I.      Standard of law
                       21                Dismissal is appropriate when a plaintiff fails to state a claim upon which
                       22        relief can be granted.” Fed. R. Civ. P. 12(b)(6). A complaint can only survive a
                       23        motion to dismiss under Fed. R. Civ. P. 12(b)(6) if it “contain[s] sufficient factual
                       24        matter, accepted as true, to state a claim to relief that is plausible on its face.”
                       25        Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not akin to
                       26        a ‘probability requirement,’ but it asks for more than a sheer possibility that a
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                                  Monterey Financial Services, LLC is improperly named as Monterey Financial
                                 Services, Inc. in the Complaint.
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                                              DEFENDANT’S NOTICE OF PARTIAL MOTION AND MOTION TO DISMISS
                                                           PURSUANT TO FED. R. CIV. P. 12(B)(6)
                                       Case 4:22-cv-02014-YGR Document 11 Filed 06/13/22 Page 4 of 6




                         1       defendant has acted unlawfully.” Id. A complaint’s “[f]actual allegations must be
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                         23      enough to raise a right to relief above the speculative level, on the assumption that
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                          35     all of the complaint’s allegations are true.” Bell Atlantic Corp. v. Twombly, 550
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                           47    U.S. 544, 555-56 (2007). Further, a complaint is insufficient “if it tenders naked
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                            59   assertions devoid of further factual enhancement.” Iqbal, 556 U.S. at 678 (citing
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                       116       Twombly, 550 U.S. at 557) (internal quotation omitted).
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                       137                A Rule 12(b)(6) motion tests the legal sufficiency of a claim. Navarro v.
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                       158       Block, 250 F.3d 729, 731 (9th Cir. 2001). It is appropriate to grant a motion to
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                       179       dismiss where “it appears beyond doubt that the plaintiff can prove no set of facts in
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                       10        support of [her] claim which would entitle [her] to relief.” Conley v. Gibson, 355
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                       11        U.S. 41, 45-46 (1957). “Dismissal can be based on the lack of a cognizable legal
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                       12        theory or the absence of sufficient facts alleged under a cognizable legal theory.”
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                       13        Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1988).
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                       14                 In engaging in this analysis, [t]he complaint is construed in a light most
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                       15        favorable to the plaintiff and all properly pled factual allegations are taken as true.”
                       16        Wan v. Commercial Recovery Systems, Inc., 369 F.Supp.2d 1158, 1161 N.D. Cal.
                       17        (2005) (citing Jenkins v. McKeithen, 395 U.S. 411, 421 (1969)). “However, this
                       18        Court is ‘not required to accept as true conclusory allegations which are contradicted
                       19        by documents referred to in the complaint.’” Wan, 369 F.Supp.2d at 1161 (quoting
                       20        Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1295-96 (9th Cir. 1998)).
                       21        II.      Regulation F does not confer a private cause of action
                       22                 Count II of the Complaint alleges that Monterey violated a specific provision
                       23        of Regulation F, 12 C.F.R. § 1006.18(b)(2), by misrepresenting the character,
                       24        amount, or legal status of any debt. (Doc. 1, ¶ 51).
                       25                 Putting aside the issue of whether Monterey violated the FDCPA in this case,
                       26        Plaintiff cannot prevail on Count II of the Complaint because Regulation F did not
                       27        create a separate private right of action. 12 C.F.R. § 1600 et seq.; see also Doss v.
                       28        Citizens Sav. & Tr.. Co., 2020 WL 9935823, at *4 (M.D. Tenn. Jan. 3, 2020), report
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                                               DEFENDANT’S NOTICE OF PARTIAL MOTION AND MOTION TO DISMISS
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                         1       and recommendation adopted sub nom. Doss v. Citizens Sav. & Tr. Co., 2020 WL
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                         23      9935828 (M.D. Tenn. Feb. 26, 2020).
                          4
                          35           Regulation F implements and provides guidance to the FDCPA. Its stated
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                           47    purpose is to “[carry] out the purposes of the FDCPA, which include eliminating
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                            59   abusive debt collection practices by debt collectors, ensuring that debt collectors
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                       116       who refrain from using abusive debt collection practices are not competitively
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                       137       disadvantaged, and promoting consistent State action to protect consumers against
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                       158       debt collection abuses.” 12 C.F.R. § 1601(b). Put differently, the CFPB has issued
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                       179       regulatory guidance regarding what is, and is not, a violation of the FDCPA.
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                       10        Although Plaintiff can attempt to rely on the provisions of Regulation F to prevail
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                       11        on her FDCPA cause of action, she cannot separately recover damages of any kind
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                       12        for her allegation that Monterey’s conduct was in violation of Regulation itself.
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                       13              Greene v. TrueAccord Corp., 2020 WL 12834572, at *6 (N.D. Cal. May 19,
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                       14        2020), although entered prior to Regulation F’s finalization, illustrates the
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                       15        provision’s potential role in FDCPA litigation. There, the plaintiff alleged that the
                       16        defendant violated, inter alia, the FDCPA. Id. at *1. Part of the plaintiff’s argument
                       17        in opposition to the defendant’s motion to dismiss, relied on Regulation F to attempt
                       18        to establish that the defendant’s conduct was in violation of the FDCPA. Id. at *5-6.
                       19        Put plainly, the plaintiff was relying on the CFPB’s regulatory guidance in
                       20        Regulation F regarding the manner in which debt collection communication was
                       21        required to be sent to a consumer to argue that she had stated a plausible claim for
                       22        relief under the FDCPA.
                       23              Simply put, 12 C.F.R. § 1600 et seq. does not confer a private cause of action
                       24        separate than what is permitted under the FDCPA. As a result, Count II of the
                       25        Complaint must be dismissed.
                       26        ///
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                                             DEFENDANT’S NOTICE OF PARTIAL MOTION AND MOTION TO DISMISS
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                         1                                     CONCLUSION
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                         23        For the reasons stated herein, Defendant Monterey Financial Services, LLC
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                          35 requests that the Court dismiss Count II of the Complaint in its entirety.
                           6
                           47 DATED: June 13, 2022                       HAMRICK & EVANS, LLP
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                       116                                           By:______________________________
                       12                                                 JEFF W. POOLE
                       137                                                Attorneys for Defendant
                       14                                                 MONTEREY FINANCIAL SERVICES,
                       158                                                INC.
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                                       DEFENDANT’S NOTICE OF PARTIAL MOTION AND MOTION TO DISMISS
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